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FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Ex. 4 70
Admitted: Yes or Neo (circle one)

Debtor. Julian Rodney Rooks Jr.

 

Case Ne.: 21-40139-KKS

 

 

 

Ady. New:

Nature of Hearing/

Decket No:

Dated 07/22 ,2021.

By: >» Deputy Clerk
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To: Denise L. Carter
United States Department of Education
Principal Deputy Assistant Secretary for the Office of Management May 9, 2018
Re: Appeal of FOLA/Privacy Act Request No. 18-00030-PA.
From: Julian Redney Rooks Jr.
3648 Dartford Lane
Tallahassee, FL 32311
ADMINISTRATIVE APPEAL OF FOIA REQUEST

On December 5, 2018, the DOE signed for Petitioner’s FOLA/Privacy Act request (exhibit 1).

Fifty seven days later, Petitioner asked why the DOE had failed ta respond to this request. Later that same day,
the DOE sent this first response mentioning the Privacy Act four times but failing to mention the Freedom of
information Act once and it contains multiple incorrect dates (exhibit 2).

Five days later, Petitioner mailed this letter via registered mail, asking the DOE to correct these multiple errors
in it’s first response (exhibit 3). Petitioner received no response and no signed green card that Petitioner paid for.

About March 2, 2018 Petitioner received by email this “final response” (exhibit 4) and this separate 2-page
response (exhibit 5) with an additional 69 pages.

DOE “final response” letter dated March 2, 2018 (exhibit 4).
FOLA request #1:

DOE respondent, Mr, Arthur Caliguiran states “you will need to contact the scheol directly for a copy of
your transcripts as the Department does not maintain them.” (exhibit 4). 1 thank Mr. Caliguiran for his direction
but this is not the information I requested. I received no information regarding request #1.

FOIA request #2:

Mr. Caliguiran fails to acknowledge the existence of this request (#2), skips that number entirely and
makes no mention of it at ali (exhibit 4). I received no information regarding request #2.

FOIA request #3:

Mr. Caliguiran indicates DOE’s need for this appeal request “I could not find a request under your name
so I cannot provide additional information”. I received no information regarding request #3.

Privacy Act request #4;

DOE changed my request, ver batum, claimed I asked for something else, and responded with 69 pages
and this 2 page cover letter (exhibit 5).

Inaccurate address and pages:

This DOE “final response” letter (exhibit 4) has an incorrect street address. If the DOE were to send any
written correspondence it would be delivered to the wrong home. Both pages are listed as “page 2”.

DOE cover letter dated February 14, 2018 (exhibit 5).
Inaccurate statement:

The DOE respondent Melissa Yancy-Venson states; “ You are requesting a copy of all records regarding
your student loan(s)” (exhibit 5, pg 1). Petitioner respectfully disagr
regarding your student loan{s)”, Petitioner asked for “all records per.

Summary ot

Petitioner appeals the DOE’s denial because it: (a) deflects 15
ignores request #2 entirely, (c) requests an appeal to obtain request 4"
“additional information”, (d) inaccurately re-phrases the Petitioner’ sm

  

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Petitioner’s request to correct the record regarding this request (exhi ni ru - Malas 2.45 nant
recognizes this request to be a Privacy Act request” but fails to state (EaaSsnices 276s eaxnac acne SE 54
(Return Receipt ranicopy) $_ BY
this as a FOIA request, (g) fails to deny the existence of the Tequesterd | OreumPecipt(eectori) 8 RFs Poston
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Julian Rodney Rooks Jr. pr ose nau
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